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                    Exhibit V
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     From: Park, Raympnd
     Sent: Sunday, Deciember 28, 2008 6:56 PM
     To: Hwang, Bill; Tomita, William
     ,ubject: Re: Trades

     Got it

    - Original Message -
    From: Hwang, Bill
    To: Tomita, William; Park, Raymond
    Sent: Sun Dec 28 18:33:38 2008
    Subject: Trades


    NO TRADES in Japan and Korea.

    For HK DAY ORDER,

    Short $5 mil. BOC,
    Long.BUY $5 mil. each ICBC, CCB and China Life

    For LONG BUY, U9E Japanese and/or Execution only brokers and DO NOT TRADE l�st one hour.




                                                                                                 GOVERNMENT
                                                                                                   EXHIBIT
                                                                                                    2751
                                                                                                   22 Cr. 240 (AKH)




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